 Case: 5:05-cr-00131-JG Doc #: 978 Filed: 09/14/06 1 of 2. PageID #: 3085




IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
EASTERN DIVISION




 ------------------------------------------------    :
 UNITED STATES OF AMERICA                            : CASE NO. 5:05 CR 131-41
                                                     :
                                         Plaintiff   :
                                                     :
                       -vs-                          :
                                                     : ORDER ACCEPTING PLEA AGREEMENT
 LAWRENCE ZOCK                                       : AND JUDGMENT AND NOTICE OF
                                                     : HEARING
                                      Defendant      :
 ------------------------------------------------    :

UNITED STATES DISTRICT JUDGE LESLEY WELLS


       This case is before the Court on a Report and Recommendation filed by United

States Magistrate Judge William H. Baughman, Jr. regarding the change of plea hearing

and plea agreement of Lawrence Zock which was referred to the Magistrate Judge with

the consent of the parties.

       On 16 March 2005, the government filed a one-count indictment against

Lawrence Zock for conspiracy to possess with the intent to distribute and distribution of

a controlled substance in violation of 21 U.S.C. § 846. On 14 April 2005, a hearing was

held in which Lawrence Zock entered a plea of not guilty before Magistrate Judge

Baughman. On 13 June 2006, Magistrate Judge Baughman received Lawrence Zock’s

plea of guilty and issued a Report and Recommendation (“R&R”) concerning whether

the plea should be accepted and a finding of guilty entered.
 Case: 5:05-cr-00131-JG Doc #: 978 Filed: 09/14/06 2 of 2. PageID #: 3086




       Neither party submitted objections to the Magistrate Judge's R&R in the ten days

after it was issued.

       On de novo review of the record, the Magistrate Judge's R&R is adopted.

Lawrence Zock is found to be competent to enter a plea. He understands his

constitutional rights. He is aware of the charges and of the consequences of entering a

plea. There is an adequate factual basis for the plea. The Court finds the plea was

entered knowingly, intelligently, and voluntarily. The plea agreement is approved.

       Therefore, Lawrence Zock is adjudged guilty of Count One, in violation of 21

U.S.C. § 846.



       Sentencing will be:



                       24 October 2006 at 3:00 p.m.

                       Courtroom 19-A
                       19th Floor the United States District Court
                       801 West Superior Avenue
                       Cleveland, Ohio 44113


       IT IS SO ORDERED.


                                          /s/Lesley Wells
                                          UNITED STATES DISTRICT JUDGE

Dated: 14 September 2006




                                             2
